                  EXHIBIT C




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                           IN THE UNITED STATES BANKRUPTCY COURT

                              FOR THE SOUTHERN DISTRICT OF TEXAS

                                          HOUSTON DIVISION

    In re                                               Chapter 11

    Refreshing USA, LLC,                                Case No. 24-33919 (ARP)
                                                        (Jointly Administered)
                                     1
                             Debtors .


    DECLARATION OF JOSEPH FANELLI IN SUPPORT OF DEBTORS’ MOTION TO
     TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1412 AND FEDERAL RULE OF
                    BANKRUPTCY PROCEDURE 1014(A)


            I, Joseph Fanelli, being duly sworn, state the following under penalty of perjury:

            1.       I submit this declaration in support of Debtors’ Motion to Transfer Venue

Pursuant to 28 U.S.C. § 1412 and Federal Rule of Bankruptcy Procedure 1014(a) (the
                 2
“Motion”). Except as otherwise noted, I have personal knowledge of the matters set forth

herein.

            2.       I am the Managing member of J. Fanelli Properties, LLC and the Chief

Restructuring Officer of Ideal Properties, LLC (“Ideal”), a debtor-in-possession in Chapter 11

bankruptcy in the Eastern District of Washington, Case No. 24-01421-FPC11.




1
 Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.
2
 Capitalized terms that are not defined in this declaration have the meaning ascribed to them in
the Motion.



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        3.      Ideal is incorporated and headquartered in Washington. Ideal’s principal place of

business is in Everett, WA. Ideal does not have significant ties to the Southern District of Texas.

Ideal is a real property holding company controlling over 20 pieces of real property. Debtors are

tenants at certain of those commercial real property parcels.

        4.      Debtors and Ideal have overlapping creditors, related businesses, entangled books

and records, and likely have claims against one another.

        5.      Debtors are the primary tenant under numerous leases for Ideal’s real properties

and have personal property and operations therein. These leases will likely be the subject of

negotiations and will either be rejected, modified, or assumed as all four cases move forward.

        6.      Creative’s first position secured lender, First Fed Bank, has recorded numerous

deeds of trust against Ideal’s real properties to secure its loan to Creative.

        7.      An official committee of unsecured creditors has been appointed in the Ideal

Bankruptcy Case represented by K&L Gates. That committee is made up entirely of claimants

against Refreshing USA, LLC, Water Station Management LLC, and Creative Technologies,

LLC who have derivative claims on behalf of Debtors and also assert standalone litigation claims

against Ideal. Ideal’s bankruptcy schedules reflect that Debtors are by far the largest unsecured

creditor in the Ideal case.

        8.      I believe transferring venue of Debtors’ cases to the Washington Bankruptcy

Court (where Ideal’s voluntary chapter 11 bankruptcy case is pending) would render the cases

more economical, efficient, and convenient. For example, it would enable a single judge in a

single jurisdiction to decide inter-debtor claims without the need for duplicate filings in two

jurisdictions and the risk of inconsistent rulings, enable creditors with claims against multiple

debtors to prosecute or settle those claims in a single court without the need for duplicate filings




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in two jurisdictions and the risk of inconsistent rulings, preserve court resources, and limit the

overall expense of administering related cases in different jurisdictions. Likewise, certain

creditors have direct and derivative claims against Debtors and Ideal. If the Texas Bankruptcy

Cases and Washington Bankruptcy Case proceed separately, these creditors and the courts will

be faced with questions as to where such creditors should prosecute or settle their claims and

whether they will obtain inconsistent rulings.

        I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO THE

BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THEY ARE

MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

PERJURY.

        Dated: November 6, 2024.
                                                   /s/ Joseph Fanelli
                                                  Joseph Fanelli



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